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IN THE UN|TED STATES D|STF{|CT COURT § il n

FOH THE WESTERN DlSTRlCT OF TENNES$:EE§¢!Q _§ ppg !2. 31
WESTERN DlVISlON

 

 

UN|TED STATES OF AMER|CA
P|aintiff

VS.
CR. NO. 05-20249-B

JUAN DELABRA, FlOBEFlTA FlEYNA,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Juiy 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
@ort date of Mond§L_September 26. 2005. at 9:30 a.m., in Courtroom 1, 11th F|oor
ot the Federa| Bui|ding, Nlemphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need §§ a spee y trial.
iT is so ol=:oEnEo this / day of , 2005.

 

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Eo sTATEs DisTFiicT JuDGE

This document entered on the docket Yee§n Com§iijmce
with Rule 55 and/or 32(b) FFtCrP on _________:__CD______

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UNITED sTATE D"ISIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20249 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

